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   EXHIBIT G
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Transfers to McEachen

                                  McEachen 2016
               Date of Payment     Amount        Nature of Payment
                  1/15/2016        $281,250.00 Bonus Payment



                                  McEachen 2017
           Date of Payment        Amount              Nature of Payment
                    8/4/2017        $337,500.00 Bonus Payment
                  10/20/2017     $12,878,009.00 Bonus Payment
                                 $13,215,509.00 Total



                                 McEachen 2018
          Date of Payment        Amount           Nature of Payment
                   2/2/2018       $244,305.27 Bonus Payment
